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                Exhibit 6
                 Case 1:23-cv-01599-ABJ Document 41-6 Filed 06/12/23 Page 2 of 15


Canellos, George

From:                Tenreiro, Jorge <tenreiroj@SEC.GOV>
Sent:                Tuesday, June 6, 2023 5:41 PM
To:                  Canellos, George
Cc:                  Hirsch, David L; Kim, Paul E.; Hitchins, Kathleen M; Smith, Tiffany; Martens, Matthew T.; Nasse, David;
                     Tarasevich, Deborah; Zerwitz, Martin; McLucas, William; Beville, Matthew; Fee, Adam; Farer, Jennifer;
                     Scarlato, Matthew; Murphy, J. Emmett; Augustini, Hope Hall; Grime, Richard W.;
                     douglas.yatter@lw.com; Day, M. Kendall; benjamin.naftalis@lw.com; Brooker, Stephanie; Plack, Laura
                     J.
Subject:             [EXT] RE: : Binance




George:

Thank you for your proposal. As a threshold matter, we do not currently express any view as to whether these
communications are governed by Rule 408 of the Federal Rules of Evidence. As you know, from the beginning of our
communications regarding these very topics, we have made clear our view that those communications were not subject
to Rule 408.

We appreciate your efforts with respect to this stipulation. As stated in the papers we just filed, we believe the proper
standstill needs to explicitly bind all four defendants. While we may be amenable to filing the proposed stipulation you
sent below after you send it executed to us (after checking internally) we will continue to take the position that an order
directed specifically against the other two defendants seeking the relief sought in our papers remains necessary and
proper under the law and that our request for expedited relief as to those two defendants should still be heard.

Further, in light of the conversation we had yesterday, June 5, 2023, at 7 p.m., we ask that you attach a board resolution
as is standard in certain SEC settlement papers that demonstrates BAM Trading’s and BAM Management’s willingness
to be bound by this stipulation. Moreover, in light of counsel for Binance’s comments last night that Binance objects to
the “unilateral” signing of this stipulation by BAM Trading and BAM Management, and that Binance believes that BAM
Trading and BAM Management lack “authority” to do so, we ask that counsel for all parties clarify their position as to the
BAM Defendants’ legal ability to enter into and be bound by this stipulation.

We also request that you please confirm in writing the BAM Defendants’ plans with respect to the shutdown of the
Binance.US platform.

Finally, please note that I expect my colleagues will be in touch with you shortly about the papers we have filed.

Thank you,

Jorge



From: Canellos, George <GCanellos@milbank.com>
Sent: Monday, June 5, 2023 11:38 PM
To: Tenreiro, Jorge <tenreiroj@SEC.GOV>
                                                             1
                  Case 1:23-cv-01599-ABJ Document 41-6 Filed 06/12/23 Page 3 of 15

Cc: Hirsch, David L <hirschd@SEC.GOV>; Kim, Paul E. <KimPa@sec.gov>; Hitchins, Kathleen M <hitchinsk@SEC.GOV>;
Smith, Tiffany <Tiffany.Smith@wilmerhale.com>; Martens, Matthew T. <Matthew.Martens@wilmerhale.com>; Nasse,
David <nassed@SEC.GOV>; Tarasevich, Deborah <TarasevichD@SEC.GOV>; Zerwitz, Martin <ZerwitzM@SEC.GOV>;
McLucas, William <William.McLucas@wilmerhale.com>; Beville, Matthew <Matthew.Beville@wilmerhale.com>; Fee,
Adam <AFee@milbank.com>
Subject: : Binance

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recognize the sender and know the content is safe.

Settlement Communication

All –

As discussed, the BAM defendants would be prepared to enter into the stipulation and order in the form that the
staff proposed this morning, except for very minor proposed technical revisions, in the interests of safeguarding
assets and in the hope of obviating the potentially destructive consequences of a contested PI hearing. I have
attached a clean version of a revised order and a redline comparing the revised order to the one the staff
circulated this morning. We are available to discuss.

George


George S. Canellos | Milbank | Partner
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5792
C: +1 646 872 9813
GCanellos@milbank.com | milbank.com


From: Tenreiro, Jorge <tenreiroj@SEC.GOV>
Sent: Monday, June 5, 2023 4:32 PM
To: Grime, Richard W. <RGrime@gibsondunn.com>
Cc: Hirsch, David L <hirschd@SEC.GOV>; Kim, Paul E. <KimPa@sec.gov>; Hitchins, Kathleen M <hitchinsk@SEC.GOV>;
Smith, Tiffany <Tiffany.Smith@wilmerhale.com>; Martens, Matthew T. <Matthew.Martens@wilmerhale.com>; Canellos,
George <GCanellos@milbank.com>; Nasse, David <nassed@SEC.GOV>; Tarasevich, Deborah <TarasevichD@SEC.GOV>;
douglas.yatter@lw.com; Zerwitz, Martin <ZerwitzM@SEC.GOV>; McLucas, William
<William.McLucas@wilmerhale.com>; William.Baker@LW.com; McGee, Jacob A. <JMcGee@gibsondunn.com>; Beville,
Matthew <Matthew.Beville@wilmerhale.com>
Subject: [EXT] RE: Binance


I’m dealing with a child healthcare issue but please circulate a dial-in to this group. I am hoping to be able to step away
for 15 minutes.

From: Grime, Richard W. <RGrime@gibsondunn.com>
Sent: Monday, June 5, 2023 4:27 PM
To: Tenreiro, Jorge <tenreiroj@SEC.GOV>; Farer, Jennifer <FarerJ@SEC.GOV>
Cc: Hirsch, David L <hirschd@SEC.GOV>; Kim, Paul E. <KimPa@sec.gov>; Hitchins, Kathleen M <hitchinsk@SEC.GOV>;
Scarlato, Matthew <scarlatom@SEC.GOV>; Smith, Tiffany <Tiffany.Smith@wilmerhale.com>; Martens, Matthew T.
<Matthew.Martens@wilmerhale.com>; gcanellos@milbank.com; Murphy, J. Emmett <MurphyJoh@SEC.GOV>; Nasse,
David <nassed@SEC.GOV>; Tarasevich, Deborah <TarasevichD@SEC.GOV>; douglas.yatter@lw.com; Zerwitz, Martin
<ZerwitzM@SEC.GOV>; McLucas, William <William.McLucas@wilmerhale.com>; William.Baker@LW.com; McGee, Jacob
                                                             2
                   Case 1:23-cv-01599-ABJ Document 41-6 Filed 06/12/23 Page 4 of 15

A. <JMcGee@gibsondunn.com>; Beville, Matthew <Matthew.Beville@wilmerhale.com>
Subject: RE: Binance

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recognize the sender and know the content is safe.

Counsel: Thank you for responding to our respective letters. We would like to schedule a call today to provide you with
our response. Are you available at 7 pm ET this evening. Thanks.


Richard W. Grime

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1050 Connecticut Avenue, N.W., Washington, D.C. 20036-5306
DD.+1 202 955 8219 • Mobile +1 202 374 3783




From: Tenreiro, Jorge <tenreiroj@SEC.GOV>
Sent: Monday, June 5, 2023 12:29 PM
To: Beville, Matthew <Matthew.Beville@wilmerhale.com>; Farer, Jennifer <FarerJ@SEC.GOV>; Grime, Richard W.
<RGrime@gibsondunn.com>
Cc: Hirsch, David L <hirschd@SEC.GOV>; Kim, Paul E. <KimPa@sec.gov>; Hitchins, Kathleen M <hitchinsk@SEC.GOV>;
Scarlato, Matthew <scarlatom@SEC.GOV>; Smith, Tiffany <Tiffany.Smith@wilmerhale.com>; Martens, Matthew T.
<Matthew.Martens@wilmerhale.com>; gcanellos@milbank.com; Murphy, J. Emmett <MurphyJoh@SEC.GOV>; Nasse,
David <nassed@SEC.GOV>; Tarasevich, Deborah <TarasevichD@SEC.GOV>; douglas.yatter@lw.com; Zerwitz, Martin
<ZerwitzM@SEC.GOV>; McLucas, William <William.McLucas@wilmerhale.com>; William.Baker@LW.com; McGee, Jacob
A. <JMcGee@gibsondunn.com>
Subject: RE: Binance

[WARNING: External Email]
Counsel—

Thank you for your respective letters regarding this matter received earlier this morning.

We cannot accept your proposals as drafted. In the interest of resolving this matter expeditiously, we will not respond
to all the points raised in your more recent letters. Suffice it to say that we do not agree with your characterization of
the tenor, tone, and substance of our conversations with respect to this issue.

In the continued interest of reaching a compromise, we propose this best and final version of the proposed
stipulation. We have accepted many of your edits but, as you can see, we cannot agree to have the as-defined “Binance
Entities” be able to withdraw funds from the platform, at least until an accounting establishes the proper ownership of
assets and the security of sufficient assets to honor all withdrawals. The parties retain the right to seek relief from the
order, and we have made that explicit. Nor can we agree to enter a stipulation that does not explicitly bind all
parties. To the extent you wish to continue to contest the jurisdiction of the court over certain parties as to the merits
of the case, we are amenable to permitting you to contest jurisdiction beyond the confines of the proposed standstill
order, as the attached draft reflects. Finally, we will not agree to file this under seal.

Please return executed stipulations no later than 4 p.m. ET today. We intend to seek emergency relief from the Court
after that time and, as previously noted, we reserve the right to seek all appropriate relief, including relief beyond the
confines of the proposed compromise.

Thank you
                                                              3
                     Case 1:23-cv-01599-ABJ Document 41-6 Filed 06/12/23 Page 5 of 15


Jorge



From: Beville, Matthew <Matthew.Beville@wilmerhale.com>
Sent: Monday, June 5, 2023 12:14 AM
To: Farer, Jennifer <FarerJ@SEC.GOV>; Grime, Richard W. <RGrime@gibsondunn.com>; Tenreiro, Jorge
<tenreiroj@SEC.GOV>
Cc: Hirsch, David L <hirschd@SEC.GOV>; Kim, Paul E. <KimPa@sec.gov>; Hitchins, Kathleen M <hitchinsk@SEC.GOV>;
Scarlato, Matthew <scarlatom@SEC.GOV>; Smith, Tiffany <Tiffany.Smith@wilmerhale.com>; Martens, Matthew T.
<Matthew.Martens@wilmerhale.com>; gcanellos@milbank.com; Murphy, J. Emmett <MurphyJoh@SEC.GOV>; Nasse,
David <nassed@SEC.GOV>; Tarasevich, Deborah <TarasevichD@SEC.GOV>; douglas.yatter@lw.com; Zerwitz, Martin
<ZerwitzM@SEC.GOV>; McLucas, William <William.McLucas@wilmerhale.com>; William.Baker@LW.com; McGee, Jacob
A. <JMcGee@gibsondunn.com>
Subject: RE: Binance

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Confidential Treatment Requested

All,

Attached please find our proposed revisions to the draft Consent Order, along with a short transmittal letter explaining
certain of our proposed changes. The Word version of the Consent Order is clean; the PDF reflects our edits to the
version you sent on Friday.

We apologize for the late response but we have been working all day to craft a proposal that addresses the issue you
have identified and the appropriate relief. We are prepared to discuss the proposal at your convenience. Again, we are
sorry for the late hour at which we are sending this.

Best,
Matt

Matthew Beville | WilmerHale
1875 Pennsylvania Avenue NW
Washington, DC 20006 USA
+1 202 663 6255 (t)
+1 202 663 6363 (f)
matthew.beville@wilmerhale.com

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the intended recipient, please notify us immediately—by replying to this message or by sending an email to postmaster@wilmerhale.com—and destroy all
copies of this message and any attachments. Thank you.

For more information about WilmerHale, please visit us at http://www.wilmerhale.com.


From: Farer, Jennifer <FarerJ@SEC.GOV>
Sent: Saturday, June 3, 2023 8:24 PM
To: Grime, Richard W. <RGrime@gibsondunn.com>; Tenreiro, Jorge <tenreiroj@SEC.GOV>

                                                                             4
                 Case 1:23-cv-01599-ABJ Document 41-6 Filed 06/12/23 Page 6 of 15

Cc: Hirsch, David L <hirschd@SEC.GOV>; Kim, Paul E. <KimPa@sec.gov>; Hitchins, Kathleen M <hitchinsk@SEC.GOV>;
Scarlato, Matthew <scarlatom@SEC.GOV>; Smith, Tiffany <Tiffany.Smith@wilmerhale.com>; Martens, Matthew T.
<Matthew.Martens@wilmerhale.com>; gcanellos@milbank.com; Murphy, J. Emmett <MurphyJoh@SEC.GOV>; Nasse,
David <nassed@SEC.GOV>; Tarasevich, Deborah <TarasevichD@SEC.GOV>; douglas.yatter@lw.com; Beville, Matthew
<Matthew.Beville@wilmerhale.com>; Zerwitz, Martin <ZerwitzM@SEC.GOV>; McLucas, William
<William.McLucas@wilmerhale.com>; William.Baker@LW.com; McGee, Jacob A. <JMcGee@gibsondunn.com>
Subject: RE: Binance

EXTERNAL SENDER


Counsel,

Following up on our earlier call, the SEC team discussed the issue you raised concerning the process and timing of
moving the crypto assets to new wallets as presented in our proposed stipulation and consent order. We maintain that is
the appropriate process to give us sufficient comfort as to the security of assets, including further addressing some of our
concerns relating to custody and control by Binance Holdings and Mr. Zhao. We understood from the discussion that you
are willing to engage in that process, but that it would take more time than what was outlined in our initial
proposal. Accordingly, in the interest of expediency and reaching a prompt resolution, we propose the following revision
to paragraph II.2. in the proposed stipulation and consent order that we believe strikes an appropriate balance in
addressing the parties’ respective considerations. We also propose a new term below as a mechanism for the parties to
raise any potential future issues relating to the consent order.

IT IS FURTHER ORDERED that within 5 days of entry of the Consent Order, Defendants will transfer all private
and administrative keys, and any portion or copy thereof (including the devices and/or software managing such
keys), for all wallets holding Customer Crypto Assets to BAM Trading officers and employees who are located in
the United States. These private and administrative keys, and any portion or copy thereof (including the devices
and/or software managing such keys), will remain in the sole possession, custody, and control of BAM Trading
officers and employees located in the United States and will not be provided to or in any way shared with the
Binance Entities. None of the Binance Entities will have any of the private or administrative keys, or any portion or
copy thereof (including the devices and/or software managing such keys), for wallets holding Customer Crypto
Assets.

IT IS FURTHER ORDERED that within 14 days of entry of the Consent Order, Defendants will begin the process
of transferring all Customer Crypto Assets to new wallets with new private and administrative keys, which process
will be completed within 6 months. The private and administrative keys, and any portion or copy thereof (including
the devices and/or software managing such keys), will be in the sole possession, custody, and control of BAM
Trading officers and employees who are located in the United States, and these private and administrative keys, and
any portion or copy thereof (including the devices and/or software managing such keys), will not be provided to or in
any way shared with the Binance Entities. None of the Binance Entities will have administrative capabilities, any of
the private or administrative keys, or any portion or copy thereof (including the devices and/or software managing
such keys), for wallets holding Customer Crypto Assets. Within 3 days of the establishment of each new wallet,
BAM Trading will provide counsel of record for the SEC with the addresses for all new wallets holding Customer
Assets, both hot and cold, and will identify the specific crypto asset(s) held within each wallet.

IT IS FURTHER ORDERED that, upon notice to the other parties, any party may seek from the Court relief from
the terms of the Consent Order or additional relief.

We believe an agreement on these various issues will sufficiently address the parties’ respective concerns at this
stage. However, as noted, time is of the essence, and we will need an executed agreement by noon tomorrow that includes
oversight and a mechanism for enforcement by the court. As previously discussed, if we are not able to enter into an
agreement, we will seek all available preliminary relief before the court as necessary.


                                                             5
                   Case 1:23-cv-01599-ABJ Document 41-6 Filed 06/12/23 Page 7 of 15
We look forward to your response and are available, as needed, before noon tomorrow to discuss.

Thank you.

Jennifer

Jennifer L. Farer
U.S. Securities and Exchange Commission
100 F Street N.E. | Washington, D.C. 20549

From: Grime, Richard W. <RGrime@gibsondunn.com>
Sent: Saturday, June 3, 2023 2:50 PM
To: Tenreiro, Jorge <tenreiroj@SEC.GOV>; Farer, Jennifer <FarerJ@SEC.GOV>
Cc: Hirsch, David L <hirschd@SEC.GOV>; Kim, Paul E. <KimPa@sec.gov>; Hitchins, Kathleen M <hitchinsk@SEC.GOV>;
Scarlato, Matthew <scarlatom@SEC.GOV>; Smith, Tiffany <Tiffany.Smith@wilmerhale.com>; Martens, Matthew T.
<Matthew.Martens@wilmerhale.com>; gcanellos@milbank.com; Murphy, J. Emmett <MurphyJoh@SEC.GOV>; Nasse,
David <nassed@SEC.GOV>; Tarasevich, Deborah <TarasevichD@SEC.GOV>; douglas.yatter@lw.com; Beville, Matthew
<Matthew.Beville@wilmerhale.com>; Zerwitz, Martin <ZerwitzM@SEC.GOV>; McLucas, William
<William.McLucas@wilmerhale.com>; William.Baker@LW.com; McGee, Jacob A. <JMcGee@gibsondunn.com>
Subject: RE: Binance

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Great; will send a zoom. I’ll send to you and Jennifer and then please pass to anyone else on your side.


Richard W. Grime

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1050 Connecticut Avenue, N.W., Washington, D.C. 20036-5306
DD.+1 202 955 8219 • Mobile +1 202 374 3783




From: Tenreiro, Jorge <tenreiroj@SEC.GOV>
Sent: Saturday, June 3, 2023 2:48 PM
To: Grime, Richard W. <RGrime@gibsondunn.com>; Farer, Jennifer <FarerJ@SEC.GOV>
Cc: Hirsch, David L <hirschd@SEC.GOV>; Kim, Paul E. <KimPa@sec.gov>; Hitchins, Kathleen M <hitchinsk@SEC.GOV>;
Scarlato, Matthew <scarlatom@SEC.GOV>; Smith, Tiffany <Tiffany.Smith@wilmerhale.com>; Martens, Matthew T.
<Matthew.Martens@wilmerhale.com>; gcanellos@milbank.com; Murphy, J. Emmett <MurphyJoh@SEC.GOV>; Nasse,
David <nassed@SEC.GOV>; Tarasevich, Deborah <TarasevichD@SEC.GOV>; douglas.yatter@lw.com; Beville, Matthew
<Matthew.Beville@wilmerhale.com>; Zerwitz, Martin <ZerwitzM@SEC.GOV>; McLucas, William
<William.McLucas@wilmerhale.com>; William.Baker@LW.com; McGee, Jacob A. <JMcGee@gibsondunn.com>
Subject: Re: Binance

[WARNING: External Email]
Fine

From: Grime, Richard W. <RGrime@gibsondunn.com>
Sent: Saturday, June 3, 2023 2:38:32 PM
To: Farer, Jennifer <FarerJ@SEC.GOV>; Tenreiro, Jorge <tenreiroj@SEC.GOV>
Cc: Hirsch, David L <hirschd@SEC.GOV>; Kim, Paul E. <KimPa@sec.gov>; Hitchins, Kathleen M <hitchinsk@SEC.GOV>;
                                                             6
                   Case 1:23-cv-01599-ABJ Document 41-6 Filed 06/12/23 Page 8 of 15

Scarlato, Matthew <scarlatom@SEC.GOV>; Smith, Tiffany <Tiffany.Smith@wilmerhale.com>; Martens, Matthew T.
<Matthew.Martens@wilmerhale.com>; gcanellos@milbank.com <gcanellos@milbank.com>; Murphy, J. Emmett
<MurphyJoh@SEC.GOV>; Nasse, David <nassed@SEC.GOV>; Tarasevich, Deborah <TarasevichD@SEC.GOV>;
douglas.yatter@lw.com <douglas.yatter@lw.com>; Beville, Matthew <Matthew.Beville@wilmerhale.com>; Zerwitz,
Martin <ZerwitzM@SEC.GOV>; McLucas, William <William.McLucas@wilmerhale.com>; William.Baker@LW.com
<William.Baker@LW.com>; McGee, Jacob A. <JMcGee@gibsondunn.com>; gcanellos@milbank.com
<gcanellos@milbank.com>
Subject: RE: Binance

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recognize the sender and know the content is safe.

Jennifer/Jorge,

We would like to schedule a call today to discuss the proposed stipulation and consent order. Are you available at 4:00
pm today? If not, please let us know a convenient time.

Thanks.
Richard W. Grime

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1050 Connecticut Avenue, N.W., Washington, D.C. 20036-5306
DD.+1 202 955 8219 • Mobile +1 202 374 3783


From: Farer, Jennifer <FarerJ@SEC.GOV>
Sent: Friday, June 2, 2023 5:13 PM
To: Tenreiro, Jorge <tenreiroj@SEC.GOV>; Beville, Matthew <Matthew.Beville@wilmerhale.com>; McLucas, William
<William.McLucas@wilmerhale.com>; Zerwitz, Martin <ZerwitzM@SEC.GOV>
Cc: Hirsch, David L <hirschd@SEC.GOV>; Kim, Paul E. <KimPa@sec.gov>; Hitchins, Kathleen M <hitchinsk@SEC.GOV>;
Scarlato, Matthew <scarlatom@SEC.GOV>; Smith, Tiffany <Tiffany.Smith@wilmerhale.com>; Martens, Matthew T.
<Matthew.Martens@wilmerhale.com>; gcanellos@milbank.com; Murphy, J. Emmett <MurphyJoh@SEC.GOV>; Nasse,
David <nassed@SEC.GOV>; Tarasevich, Deborah <TarasevichD@SEC.GOV>; Grime, Richard W.
<RGrime@gibsondunn.com>; douglas.yatter@lw.com
Subject: RE: Binance[WARNING : MESSAGE ENCRYPTED]

[WARNING: External Email]
Apologies – please use the attached version, which removes the inadvertent header. This document is not covered by,
and sending does not constitute a waiver of, any privilege or other protection.

Thank you.

Jennifer L. Farer
U.S. Securities and Exchange Commission
100 F Street N.E. | Washington, D.C. 20549

From: Farer, Jennifer
Sent: Friday, June 2, 2023 5:07 PM
To: Tenreiro, Jorge <tenreiroj@SEC.GOV>; Beville, Matthew <Matthew.Beville@wilmerhale.com>; McLucas, William
<William.McLucas@wilmerhale.com>; Zerwitz, Martin <ZerwitzM@SEC.GOV>
Cc: Hirsch, David L <hirschd@SEC.GOV>; Kim, Paul E. <KimPa@sec.gov>; Hitchins, Kathleen M <hitchinsk@SEC.GOV>;
Scarlato, Matthew <scarlatom@SEC.GOV>; Smith, Tiffany <Tiffany.Smith@wilmerhale.com>; Martens, Matthew T.
<Matthew.Martens@wilmerhale.com>; gcanellos@milbank.com; Murphy, J. Emmett <MurphyJoh@SEC.GOV>; Nasse,
                                                             7
                 Case 1:23-cv-01599-ABJ Document 41-6 Filed 06/12/23 Page 9 of 15

David <nassed@SEC.GOV>; Tarasevich, Deborah <TarasevichD@SEC.GOV>; rgrime@gibsondunn.com;
douglas.yatter@lw.com
Subject: RE: Binance[WARNING : MESSAGE ENCRYPTED]

Counsel,

As discussed during this afternoon’s call, attached please find a proposed stipulation and consent order, which we
believe strikes an appropriate balance to address the parties’ concerns in the near term in connection with the issues we
have raised about the segregation, security, and availability of investor assets.

We will need an executed agreement by 5:00 p.m. tomorrow, so please let us know in advance of that time if you have
any questions or items to discuss, including proposed alternative solutions, to ensure there is sufficient time to consider
any issues. If we are not able to enter into an agreement to give us sufficient comfort as to customer assets, we will
seek all available preliminary relief before the court as necessary.

Thank you.

Jennifer

Jennifer L. Farer
U.S. Securities and Exchange Commission
100 F Street N.E. | Washington, D.C. 20549

From: Tenreiro, Jorge <tenreiroj@SEC.GOV>
Sent: Friday, June 2, 2023 1:19 PM
To: Beville, Matthew <Matthew.Beville@wilmerhale.com>; Farer, Jennifer <FarerJ@SEC.GOV>; McLucas, William
<William.McLucas@wilmerhale.com>; Zerwitz, Martin <ZerwitzM@SEC.GOV>
Cc: Hirsch, David L <hirschd@SEC.GOV>; Kim, Paul E. <KimPa@sec.gov>; Hitchins, Kathleen M <hitchinsk@SEC.GOV>;
Scarlato, Matthew <scarlatom@SEC.GOV>; Smith, Tiffany <Tiffany.Smith@wilmerhale.com>; Martens, Matthew T.
<Matthew.Martens@wilmerhale.com>; gcanellos@milbank.com; Murphy, J. Emmett <MurphyJoh@SEC.GOV>; Nasse,
David <nassed@SEC.GOV>; Tarasevich, Deborah <TarasevichD@SEC.GOV>; rgrime@gibsondunn.com;
douglas.yatter@lw.com
Subject: RE: Binance[WARNING : MESSAGE ENCRYPTED]

Hi Matt:
Thanks for the letter. We understand based on our call from yesterday, we understand that at some point today you
may be sending us additional information in response to our questions. Do you have an update on the timing for that?
Separate from that response, we would like to get on the phone as soon as you are able to propose a way out of this
particular problem with respect to ultimate control of BAM customer assets. Please indicate your earliest availability,
and we will make ourselves immediately available to try to reach an agreement.
Thank you,
Jorge

From: Beville, Matthew <Matthew.Beville@wilmerhale.com>
Sent: Friday, June 2, 2023 1:15 AM
To: Farer, Jennifer <FarerJ@SEC.GOV>; Tenreiro, Jorge <tenreiroj@SEC.GOV>; McLucas, William
<William.McLucas@wilmerhale.com>; Zerwitz, Martin <ZerwitzM@SEC.GOV>
Cc: Hirsch, David L <hirschd@SEC.GOV>; Kim, Paul E. <KimPa@sec.gov>; Hitchins, Kathleen M <hitchinsk@SEC.GOV>;
Scarlato, Matthew <scarlatom@SEC.GOV>; Smith, Tiffany <Tiffany.Smith@wilmerhale.com>; Martens, Matthew T.
<Matthew.Martens@wilmerhale.com>; gcanellos@milbank.com; Murphy, J. Emmett <MurphyJoh@SEC.GOV>; Nasse,
David <nassed@SEC.GOV>; Tarasevich, Deborah <TarasevichD@SEC.GOV>; rgrime@gibsondunn.com;

                                                             8
                    Case 1:23-cv-01599-ABJ Document 41-6 Filed 06/12/23 Page 10 of 15

douglas.yatter@lw.com
Subject: RE: Binance[WARNING : MESSAGE ENCRYPTED]

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Confidential Treatment Requested

All,

Attached please find our initial response to your May 30 letter, along with a copy of the formal termination of the Wallet
Custody Agreement. We will provide further responses to your requests tomorrow.

Best,
Matt

Matthew Beville | WilmerHale
1875 Pennsylvania Avenue NW
Washington, DC 20006 USA
+1 202 663 6255 (t)
+1 202 663 6363 (f)
matthew.beville@wilmerhale.com

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From: Farer, Jennifer <FarerJ@SEC.GOV>
Sent: Tuesday, May 30, 2023 4:38 PM
To: Beville, Matthew <Matthew.Beville@wilmerhale.com>; Tenreiro, Jorge <tenreiroj@SEC.GOV>; McLucas, William
<William.McLucas@wilmerhale.com>; Zerwitz, Martin <ZerwitzM@SEC.GOV>
Cc: Hirsch, David L <hirschd@SEC.GOV>; Kim, Paul E. <KimPa@sec.gov>; Hitchins, Kathleen M <hitchinsk@SEC.GOV>;
Scarlato, Matthew <scarlatom@SEC.GOV>; Smith, Tiffany <Tiffany.Smith@wilmerhale.com>; Martens, Matthew T.
<Matthew.Martens@wilmerhale.com>; gcanellos@milbank.com; Murphy, J. Emmett <MurphyJoh@SEC.GOV>; Nasse,
David <nassed@SEC.GOV>; Tarasevich, Deborah <TarasevichD@SEC.GOV>; rgrime@gibsondunn.com;
douglas.yatter@lw.com
Subject: RE: Binance[WARNING : MESSAGE ENCRYPTED]

EXTERNAL SENDER


Counsel,

Please see the attached letter in furtherance of our communications concerning custody and control of fiat currency and
crypto assets.

Thank you.


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Jennifer

Jennifer L. Farer
U.S. Securities and Exchange Commission
100 F Street N.E. | Washington, D.C. 20549

From: Beville, Matthew <Matthew.Beville@wilmerhale.com>
Sent: Friday, May 26, 2023 9:22 PM
To: Tenreiro, Jorge <tenreiroj@SEC.GOV>; McLucas, William <William.McLucas@wilmerhale.com>; Zerwitz, Martin
<ZerwitzM@SEC.GOV>
Cc: Hirsch, David L <hirschd@SEC.GOV>; Kim, Paul E. <KimPa@sec.gov>; Hitchins, Kathleen M <hitchinsk@SEC.GOV>;
Farer, Jennifer <FarerJ@SEC.GOV>; Scarlato, Matthew <scarlatom@SEC.GOV>; Smith, Tiffany
<Tiffany.Smith@wilmerhale.com>; Martens, Matthew T. <Matthew.Martens@wilmerhale.com>;
gcanellos@milbank.com; Murphy, J. Emmett <MurphyJoh@SEC.GOV>; Nasse, David <nassed@SEC.GOV>; Tarasevich,
Deborah <TarasevichD@SEC.GOV>
Subject: RE: Binance[WARNING : MESSAGE ENCRYPTED]

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Confidential Treatment Requested

All,

Attached please find a letter providing further information in response to your questions regarding the custody of fiat
currency and digital assets held on behalf of BAM Trading’s customers. Please note the accompanying documents are
password protected. I will send the password under separate cover.

Thanks,
Matt

Matthew Beville | WilmerHale
1875 Pennsylvania Avenue NW
Washington, DC 20006 USA
+1 202 663 6255 (t)
+1 202 663 6363 (f)
matthew.beville@wilmerhale.com

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From: Beville, Matthew <Matthew.Beville@wilmerhale.com>
Sent: Thursday, May 25, 2023 11:15 PM
To: Tenreiro, Jorge <tenreiroj@SEC.GOV>; McLucas, William <William.McLucas@wilmerhale.com>; Zerwitz, Martin
<ZerwitzM@SEC.GOV>
Cc: Hirsch, David L <hirschd@SEC.GOV>; Kim, Paul E. <KimPa@sec.gov>; Hitchins, Kathleen M <hitchinsk@SEC.GOV>;
Farer, Jennifer <FarerJ@SEC.GOV>; Scarlato, Matthew <scarlatom@SEC.GOV>; Smith, Tiffany

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<Tiffany.Smith@wilmerhale.com>; Martens, Matthew T. <Matthew.Martens@wilmerhale.com>;
gcanellos@milbank.com; Murphy, J. Emmett <MurphyJoh@SEC.GOV>; Nasse, David <nassed@SEC.GOV>; Tarasevich,
Deborah <TarasevichD@SEC.GOV>
Subject: RE: Binance

Hi all,

Attached please find a letter memorializing our conversation from yesterday afternoon regarding the custody of fiat
currency and digital assets held on behalf of BAM Trading’s customers. We will follow-up with a supplemental
submission addressing your specific questions tomorrow afternoon.

Best,
Matt

Matthew Beville | WilmerHale
1875 Pennsylvania Avenue NW
Washington, DC 20006 USA
+1 202 663 6255 (t)
+1 202 663 6363 (f)
matthew.beville@wilmerhale.com

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From: Tenreiro, Jorge <tenreiroj@SEC.GOV>
Sent: Wednesday, May 24, 2023 8:58 PM
To: McLucas, William <William.McLucas@wilmerhale.com>; Zerwitz, Martin <ZerwitzM@SEC.GOV>
Cc: Hirsch, David L <hirschd@SEC.GOV>; Kim, Paul E. <KimPa@sec.gov>; Hitchins, Kathleen M <hitchinsk@SEC.GOV>;
Farer, Jennifer <FarerJ@SEC.GOV>; Scarlato, Matthew <scarlatom@SEC.GOV>; Smith, Tiffany
<Tiffany.Smith@wilmerhale.com>; Martens, Matthew T. <Matthew.Martens@wilmerhale.com>; Beville, Matthew
<Matthew.Beville@wilmerhale.com>; gcanellos@milbank.com; Murphy, J. Emmett <MurphyJoh@SEC.GOV>; Nasse,
David <nassed@SEC.GOV>; Tarasevich, Deborah <TarasevichD@SEC.GOV>
Subject: RE: Binance

EXTERNAL SENDER


Hi Bill and welcome George:

Thanks for the below email and again for talking to us earlier today. However, we remain awaiting written confirmation
from you regarding the safeguarding of client assets at BAM Trading Services Inc.—specifically, confirming that all U.S.
customer assets (fiat and crypto) are segregated, secured, unencumbered, and available for immediate withdrawal by
Binance.US customers. As part of that memorialization, please include the following information:

     -    The total amounts of Binance.US customer assets (both crypto and fiat) held and/or controlled by BAM Trading,
          Changpeng Zhao, Binance Holdings Limited, Prime Trust LLC, or any other entity or individual.
     -    Whether the 2022 audits for BAM Trading and BAM Management US Holdings Inc. have been completed and
          please provide copies if they have.
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    -     The public blockchain addresses for all wallets currently holding Binance.US customers’ crypto assets.
    -     The custody and control arrangements for all crypto assets and private keys (including, but not limited to,
          protocol information for the control and authorization of transfer of crypto assets; identification and location of
          key shard holders and whether they are currently or were formerly employed by Binance Holdings (or other
          Binance entity); location of any hardware wallets; and Zhao’s and Binance Holdings’ respective roles and
          authority over crypto assets held and/or controlled on behalf of Binance.US customers and BAM Trading,
          including any authority – whether formal or informal – to transfer crypto assets).
    -     Details of accounts (bank account numbers and amounts) where segregated (or non-segregated, if any) client
          fiat assets are held.
    -     Custody and control arrangements over customer fiat (including information sufficient to prevent dissipation of
          assets, identification of individuals with authorization to transfer assets).
    -     Details on how Binance.US customer assets (both crypto and fiat) are segregated from BAM Trading’s, BAM
          Management’s, or any affiliated entity’s or individual’s assets.

Note that we will not consider information provided above to be subject to FRE 408.

Thank you,

Jorge



From: McLucas, William <William.McLucas@wilmerhale.com>
Sent: Wednesday, May 24, 2023 8:14 PM
To: Zerwitz, Martin <ZerwitzM@SEC.GOV>
Cc: Tenreiro, Jorge <tenreiroj@SEC.GOV>; Hirsch, David L <hirschd@SEC.GOV>; Kim, Paul E. <KimPa@sec.gov>; Hitchins,
Kathleen M <hitchinsk@SEC.GOV>; Farer, Jennifer <FarerJ@SEC.GOV>; Scarlato, Matthew <scarlatom@SEC.GOV>;
Smith, Tiffany <Tiffany.Smith@wilmerhale.com>; Martens, Matthew T. <Matthew.Martens@wilmerhale.com>; Beville,
Matthew <Matthew.Beville@wilmerhale.com>; gcanellos@milbank.com
Subject: Binance

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Martin,

We are working through the Consent language as quickly and as carefully as we can but given the complexity of the
proposed terms and our concerns about certain of the provisions, we are not yet prepared to go through the proposal
with the staff.

More important, the inclusion of a charge and proposed consent to an injunction under Section 17(a) of the Securities
Act is a demand to which BAM Trading will not agree. For the reasons we have discussed previously, as well as the
collateral consequences on individuals, if that provision remains in the proposed settlement BAM Trading will not settle.

Otherwise, we are prepared to work through and offer our position on the additional terms of the Consent as quickly as
possible.

Bill McLucas

From: Zerwitz, Martin <ZerwitzM@SEC.GOV>
Sent: Wednesday, May 24, 2023 3:16 PM
To: Grime, Richard W. <RGrime@gibsondunn.com>; Brooker, Stephanie <SBrooker@gibsondunn.com>; Day, M. Kendall

                                                              12
                 Case 1:23-cv-01599-ABJ Document 41-6 Filed 06/12/23 Page 14 of 15

<KDay@gibsondunn.com>; Plack, Laura J. <LPlack@gibsondunn.com>; Kim, Thomas J. <TKim@gibsondunn.com>;
benjamin.naftalis@lw.com; Douglas.Yatter@lw.com; natalie.rao@lw.com; McGee, Jacob A.
<JMcGee@gibsondunn.com>; McLucas, William <William.McLucas@wilmerhale.com>; Beville, Matthew
<Matthew.Beville@wilmerhale.com>; Smith, Tiffany <Tiffany.Smith@wilmerhale.com>
Cc: Hirsch, David L <hirschd@SEC.GOV>; Tenreiro, Jorge <tenreiroj@SEC.GOV>; Tarasevich, Deborah
<TarasevichD@SEC.GOV>; Norman, Donna K. <NormanD@SEC.GOV>; Kim, Paul E. <KimPa@sec.gov>; Hitchins, Kathleen
M <hitchinsk@SEC.GOV>; Steele, Colby A <steelec@SEC.GOV>; Rosenfield, Ann L. <ROSENFIELDA@SEC.GOV>; Farer,
Jennifer <FarerJ@SEC.GOV>; Murphy, J. Emmett <MurphyJoh@SEC.GOV>; Scarlato, Matthew <scarlatom@SEC.GOV>;
Nasse, David <nassed@SEC.GOV>; Augustini, Hope Hall <AugustiniH@SEC.GOV>; Baker, Michael <BakerMic@SEC.GOV>
Subject: RE: Binance

EXTERNAL SENDER


Counsel,
Please let us know promptly when you are available for a call to discuss the draft consents we sent yesterday.

Martin L. Zerwitz
U.S. Securities & Exchange Commission
Division of Enforcement, Crypto Assets and Cyber Unit
100 F Street, N.E., Washington, D.C. 20549
(202) 551-4566
ZerwitzM@sec.gov
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From: Zerwitz, Martin
Sent: Tuesday, May 23, 2023 2:44 PM
To: Grime, Richard W. <RGrime@gibsondunn.com>; Brooker, Stephanie <SBrooker@gibsondunn.com>; Day, M. Kendall
<KDay@gibsondunn.com>; Plack, Laura J. <LPlack@gibsondunn.com>; Kim, Thomas J. <TKim@gibsondunn.com>;
benjamin.naftalis@lw.com; Douglas.Yatter@lw.com; Natalie.Rao@lw.com; McGee, Jacob A.
<JMcGee@gibsondunn.com>; william.mclucas@wilmerhale.com; Beville, Matthew
<Matthew.Beville@wilmerhale.com>; Smith, Tiffany <Tiffany.Smith@wilmerhale.com>
Cc: Hirsch, David L <hirschd@SEC.GOV>; Tenreiro, Jorge <tenreiroj@SEC.GOV>; Tarasevich, Deborah
<TarasevichD@SEC.GOV>; Norman, Donna K. <NormanD@SEC.GOV>; Kim, Paul E. <KimPa@sec.gov>; Hitchins, Kathleen
M <hitchinsk@SEC.GOV>; Steele, Colby A <steelec@SEC.GOV>; Rosenfield, Ann L. <ROSENFIELDA@SEC.GOV>; Farer,
Jennifer <FarerJ@SEC.GOV>; Murphy, J. Emmett <MurphyJoh@SEC.GOV>; Scarlato, Matthew <scarlatom@SEC.GOV>;
Nasse, David <nassed@SEC.GOV>; Augustini, Hope Hall <AugustiniH@SEC.GOV>; Baker, Michael <BakerMic@SEC.GOV>;
Zerwitz, Martin <ZerwitzM@SEC.GOV>
Subject: Binance

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Counsel,

Attached please find drafts of proposed consents of Binance Holdings Limited, BAM Trading Services, Inc., BAM
Management US Holdings, Inc., and Changpeng Zhao. These drafts should be considered preliminary and still subject to
revision and approval based on further internal review and Commission authorization. Moreover, to the extent these

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consents contain certain standard settlement language applicable in all SEC federal district court consents, our ability to
modify those provisions is extremely limited, if not non-existent.

Should you have questions about any of the provisions in the consents, we can be available for a call tomorrow to
answer any such questions. We would like to receive your substantive response to these proposed consents no later
than COB Friday, so that we may continue to move our discussions forward.

Martin


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